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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 19-62625-CIV-SMITH

 MARCOS VELEZ and NERVA GARCIA,

        Plaintiffs,
 v.

 NUGENEREX DIAGNOSTIC, LLC, et al.,

       Defendants.
 _____________________________________/


                                             ORDER
        This matter is before the Court on Magistrate Judge Valle’s Report and Recommendation

 [DE 48], recommending approval of the Settlement Agreement between Plaintiff Nerva Garcia

 and Defendants NuGenerex Diagnostic, Generex Biotechnology Corporation, and Joseph

 Moscato, in this Fair Labor Standards Act case. Upon consideration, it is

        ORDERED that the Report and Recommendation [DE 48] is AFFIRMED AND

 ADOPTED:

            1. the Joint Motion for Approval of Settlement Agreement [DE 47] is GRANTED

 and the Settlement Agreement is APPROVED. Except as otherwise provided in the Settlement

 Agreement, each party to the agreement will bear its own fees and costs;

            2. this case is DISMISSED WITH PREJUDICE as to Plaintiff Nerva Garcia, only;

 and

            3. the Court retains jurisdiction until January 31, 2021, to enforce the terms of the

 Settlement Agreement.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 23rd day of October 2020.
